             Case 1:04-cr-05244-JLT Document 113 Filed 03/27/08 Page 1 of 2


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 4   Telephone: (559) 497-4000
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 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )                     CASE NO. 1:04-CR-5244 OWW
                                       )
12          Plaintiff,                 )                     STIPULATION TO CONTINUE STATUS
                                       )                     CONFERENCE AND PROPOSED ORDER
13   v.                                )
                                       )
14   CLYDE ARTHUR STROHL; STEPHEN EARL )
     PROUT                             )
15                                     )
            Defendants.                )
16                                     )
17
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18
     counsel, Stanley A. Boone, Assistant United States Attorney for Plaintiff, Katherine Hart, Attorney for
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     Defendant CLYDE ARTHUR STROHL, and Eric Fogderude, Attorney for Defendant STEPHEN
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     EARL PROUT, that the Status Conference presently set for March 31, 2008, at 1:30 p.m., may be
21
     continued to April 14, 2008, at 1:30 p.m.
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            The continuance is necessary to allow attorneys to meet and confer regarding pleas and a
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     possible defense of one of the defendants.
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              Case 1:04-cr-05244-JLT Document 113 Filed 03/27/08 Page 2 of 2


 1          The parties also agree that time continues to be excluded pursuant to the Speedy Trial Act under
 2   18 U.S.C. §§ 3161(h)(1)(F) and (h)(8)(A) for the Court's consideration of the pre-trial motion and the
 3   parties’ preparation of the case.
 4
 5   DATED: March 27, 2008                        By     /s/ Stanley A. Boone
                                                         STANLEY A. BOONE
 6                                                       Assistant U.S. Attorney
 7
 8   DATE: March 27, 2008                         By     /s/ Eric Fogderude
                                                         ERIC FOGDERUDE
 9                                                       Attorney for Stephen Prout
10
11   DATE: March 27, 2008                         By     /s/ Katherine Hart
                                                         KATHERINE HART
12                                                       Attorney for Clyde Arthur Strohl
13
                                                    ORDER
14
            IT IS SO ORDERED.
15
     Dated: March 27, 2008                            /s/ Oliver W. Wanger
16   emm0d6                                      UNITED STATES DISTRICT JUDGE
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